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EXHIBIT Il

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997 Brickell venue
Miami, Korida IS1H4

(305) 577-0044 Fax (305) 577-8545
April 7, 2000

CERTIFIED MAIL, RETURN VIA HAND DELIVERY

RECEIPT REQUESTED Donald K. Stern

The Honorable Janet Reno United States Attorney

Attorney General District of Massachusetts

U.S. Department of Justice 1 Courthouse Way

10th St. & Constitution Avenue Suite 9200

Washington, D.C. 20530 Boston, MA 02210

RE: Qui Tam Action: Drug Manufacturers’ False Price Representations
About Medicaid Reimbursed Prescription Drugs Provided By Retail
Community Pharmacies; United States of America, Ex. Rel. Ven-A-
Care of the Florida Keys, Inc. v. APOTHECON et. al.

Dear Ms. Reno and Mr. Stern: .

This law firm represents Ven-A-Care of the Florida Keys, Inc., a Florida corporation,
as the Relator in the above-referenced "qui tam” action brought pursuant to 31 U.S.C. §§3729
and 3730. This letter and its enclosures are being served upon you pursuant to the
requirements of 31 U.S.C. §3730(b)(2) immediately prior to the filing of the Complaint in
camera and under seal with the Clerk, United States District Court, District of Massachusetts.

The enclosed Complaint filed under sea! charges, in summary, the following:

This is an action for damages, treble damages, civil penalties and costs against the
DEFENDANT DRUG MANUFACTURERS arising from their repeated and knowing reporting
and use of grossly inflated, false and fraudulent price and cost records and statements
regarding certain of their pharmaceutical products. The DEFENDANTS made falsely inflated
reports of prices for the specified pharmaceuticals in order to cause the States’ Medicaid
Programs to pay claims in excessive amounts. The DEFENDANTS caused pharmacies to
receive inflated reimbursement for Medicaid claims as an unlawful financial inducement to

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The Honorable Janet Reno
Attomey General

U.S. Department of Justice
and

Donald K. Stem

United States Attorney
District of Massachusetts
April 7, 2000

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purchase the DEFENDANTS’ drugs instead of those of their competitors. The
DEFENDANTS thus caused the federally funded States' Medicaid Programs to pay claims
for the DEFENDANTS’ specified drugs in amounts that substantially exceeded lawful
reimbursement based upon a reasonable estimate of acquisition cost. The DEFENDANTS’
actions have caused and continue to cause the State and Federal Governments to incur tens
of millions of dollars in damages each year,

The Relator has provided information to the appropriate Government agencies about
drug pricing fraud, and its impact on federal programs, onan on going basis for several years,
The instant false claims action, however, involves an evolving fraud scheme directed at
federally funded State Medicaid Programs that reimburse pharmacies for providing oral
prescription drugs to Medicaid recipients by estimating the acquisition cost of the drug and
adding a professional fee for dispensing to the drug’s cost. The DEFENDANTS have falsely
mis-represented to the State Medicaid Programs that they sell the specified drugs to
wholesalers for amounts substantially higher than the true price. The DEFENDANTS thus
cause the State Medicaid Programs to believe that wholesalers pay much more for the drug
than they actually pay and, in turn, sell the drugs to Medicaid provider pharmacies for much
more than they actually sell the drugs for.

The Relator, as an industry insider, has access to truthful price information about the
specified drugs that is concealed from the Government representatives who determine the
amounts paid forclaims for prescription drugs. The Relator has voluntarily provided the true
price information to the UNITED STATES and has assembled the vast amount of
documentary evidence revealing true prices that is provided herewith including ,but not limited
to, invoices reflecting actual purchases of the specified drugs and price lists and catalogs
made available to insiders but not to the Government. In addition, the Relator has reviewed
specific price and cost representations made by the DEFENDANTS about the specified
drugs to Medicaid reimbursement officials in Texas and other states and have compared
those representations with truthful price and cost information available to the Relator as an
industry insider. The Relator is a licensed pharmacy that has been a Medicaid Provider and
is aware of the methods employed by the DEFENDANTS to induce Medicaid Providers to
purchase certain of their drugs rather than those of competitors by building in a fraudulent
spread between the prices at which the DEFENDANTS actually sell their drugs and the false
prices and costs that the DEFENDANTS report to the Medicaid Programs. The Relator and
the undersigned counsel have also met with representatives of the United States Attorney's

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The Honorable Janet Reno
Attorney General

U.S. Department of Justice
and

Donald K. Stern

United States Attorney
District of Massachusetts
April 7, 2000

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Office for the District of Massachusetts and provided them with examples of many of the
specified drugs together with true prices.

As not above, the false claims scheme is ongoing and evolving. Accordingly, the
Relator continued to assemble actual price and cost information relating to additional drugs
and potential DEFENDANTS and intends to amend the enclosed Complaint after the
additional information is provided to the Government.

Enclosed you will find a copy of the Relator's Complaint and summonses together with
material evidence and information possessed by the Relator. In the event that you require any
further assistance in your review of the Complaint from the Relator or this law firm please
contact either of the undersigned.

Sincerely,

(Af Fel

ee W. Wampler Ill
For the Firm

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es J. Breen
or the Firm

FACLIENTS\4590\Correspondence\RenoLtr.wpd

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